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                                                              Natalie Shkolnik
                                                              Partner
                                                              212-981-2294
                                                              nshkolnik@wilkauslander.com




                                                              July 22, 2019

 VIA ECF AND EMAIL

 Judge Shelley C. Chapman
 United States Bankruptcy Court
 Southern District ofNew York
 Courtroom 623
 One Bowling Green
 New York, NY 10004-1408

                    Re:   In re: Perforadora Oro Negro, S. de R.L. de C. Vet al., Case No. 18-
                          11094 (SCC); Gil-White v. Ercil, Adv. No. 19-01294 (SCC)

 Dear Judge Chapman:

        We write on behalf of Seadrill Limited and Fintech Advisory, Inc. parties-in-interest in
 the above-captioned jointly administered Chapter 15 cases and defendants in the adversary
 proceeding commenced on June 6, 2019.

        We learned Friday that the Nordic Trustee, on behalf of the Oro Negro bondholders,
 made an offer to the Foreign Representative to purchase all the assets of Oro Negro, including all
 causes of action and the equity of all of the Oro Negro entities. A copy of the resolution
 authorizing the offer and the offer itself are attached.

         We also learned on Friday that the Concurso court ruled that it had exclusive jurisdiction
 to decide whether to approve the proposed Litigation Interest Agreement.

        In light of these two events and the Court's request for a conference at 3:00p.m. today,
 we adjourned our proposed meet and confer with counsel for the foreign representative originally
 scheduled for noon today. Since these two events were not previously disclosed to Your Honor,
 we wanted to receive further instructions from the Court before holding the Rule 26 conference.

         Should the Court determine that the Rule 26 conference should still go forward, we are
 available to meet and confer tomorrow late afternoon with counsel for Mr. Perez.

                                                       Respectfully,

                                                       \\ ~(,.~           ~\..\..o'v-.l_
                                                       Natalie Shkolnik

 cc:        ByECF


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                                    .;()' NordicTrustee
  Denne melding til obligasjonseierne er kun utarbeidet pa engelsk. For informasjon vennligst kontakt
  Nordic Trustee AS

  To the bondholders in:


  ISIN NO 001 070098.2 -             7.50%, Oro Negro Pte. Ltd. Senior Secured Bond Issue
                                     2014/2019


  Oslo, 18 July 2019

  Summons for Written Resolution- Support for Bondholders' Liquidation Bid

  Nordic Trustee AS (the "Bond Trustee") acts as trustee for the bondholders (together, the
  "Bondholders") in the abovementioned bond issue (the "Bonds" or the "Bond Issue"), a bond loan of
  USD 939,100,570 issued by Oro Negro Drilling Pte. Ltd. (the "Issuer" and, together with the Issuer's Rig
  Owner subsidiaries and affiliates, the "Singapore Entities" and, together with the Issuer's former parent,
  Integradora de Servicios Petroleras Oro Negro S.A.P.I. de C.V., and the subsidiaries and affiliates of the
  Issuer's former parent, the "Company") pursuant to a bond agreement dated 24 January 2014 (as
  amended and restated from time to time, the "Bond Agreement").

  Capitalized terms used herein (including any attachment hereto) shall have the meaning assigned to them
  in the Bond Agreement and applicable Security Documents unless otherwise defined herein.

  This summons for a written resolution (the "Summons") is hereby issued at the request of an ad hoc
  group of Bondholders (the "Ad Hoc Group") that represents that its members hold, as of [15] July 2019,
  approximately [50]% of the aggregate outstanding principal amount of the Bonds.

  The information in this written resolution is provided by the Ad Hoc Group, and the Bond Trustee
  expressly disclaims all liability whatsoever related to such information.

  1   BACKGROUND

  On June 13, 2019, the Parent and the Charterer (the "Debtors") were placed into liquidation (the
  "Liquidation Proceeding") in their pending concurso mercantile proceedings before the Second District
  Court in Mexico City, Mexico (the "Concurso Court"). In an effort to bring the Liquidation Proceeding
  to a timely conclusion and resolve certain outstanding disputes and litigation among the Debtors and
  certain of their affiliates, the Bondholders, and the Bond Trustee, as applicable, the Ad Hoc Group seek to
  submit a bid to purchase all or substantially all of the Debtors' assets on the terms set forth in the term
  sheet attached hereto as Exhibit A (the "Liquidation Bid'').

  The Liquidation Bid provides, among other things, that the Bond Trustee shall designate a special purpose
  entity to purchase all or substantially all of the Debtors' assets in exchange for (a) cash consideration of
  up to $20 million to satisfy certain claims against the Debtors that are pari passu or senior to the
  Bondholders' claims and (b) payment of a portion of the Bondholders' claims against the Debtors. The
  Liquidation Bid shall be subject to, among other things, (a) acceptance by the liquidator overseeing the
  Liquidation Proceeding, (b) Concurso Court approval, and (c) higher and better offers (if any) at a public
  auction conducted in accordance with the terms of the Liquidation Bid.




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  The Ad Hoc Group believes the Liquidation Bid provides significant benefits to all Bondholders in
  furtherance of their collective efforts to obtain a recovery on account of the Bonds. If successful, the
  Liquidation Bid will, among other things, resolve the Debtors' ongoing efforts to adversely affect the
  Bondholders' interests in the Rigs and assets in the Mexican Trust Accounts. The Liquidation Bid will
  also provide the Bondholders' control over the Debtors' ongoing litigation against PPS. Put simply, the
  Ad Hoc Group believes that the Liquidation Bid is the optimal path forward to maximize recoveries for
  all Bondholders.


  2   WRITTEN RESOLUTION

  In accordance with Clause 16.5 of the Bond Agreement, it is hereby resolved that:

  The Bondholders support the implementation of the Liquidation Bid (such matters being the "Proposed
  Resolution").

  The Proposed Resolution shall be effective as of the date on which the Proposed Resolution is approved
  by at least 2/3 of the Voting Bonds, in accordance with the Bond Agreement (such date, the "Proposal
  Effective Date").

  In addition, immediately upon the occurrence of the Proposal Effective Date, the Bond Trustee, with the
  consent of Bondholders holding at least a majority of the Voting Bonds, shall be authorized to complete
  the negotiation of form, terms, conditions, and timing in relation to the Liquidation Bid. Further, the
  Bond Trustee is given power of attorney to prepare, finalize, and enter into the necessary agreements in
  connection with the implementation of the Liquidation Bid and to carry out necessary completion work,
  including making appropriate amendments to the Bond Agreement (if any).

  3   FURTHER INFORMATION

  Bondholders may contact the financial advisors to the Ad Hoc Group (the "Advisors") as follows for
  further information:

  AMA Capital Partners
  Paul M. Leand Jr.
  Managing Director & CEO
  e-mail: pleand@amausa.com
  telephone: + 1 (212) 682-2310

  The Advisors act solely for the Ad Hoc Group and no-one else in connection herewith. No due diligence
  investigations have been carried out by the Advisors with respect to the Issuer, and the Advisors expressly
  disclaim any and all liability whatsoever in connection with the Proposed Resolution (including but not
  limited to the information contained herein).

  For further questions to the Bond Trustee, please contact Olav Slagsvold at mail@nordictrustee.com or+
  47 22 87 94 00.

  4   EVALUATION AND NON-RELIANCE

  The Proposed Resolution is put forward to the Bondholders without further evaluation or
  recommendations from the Bond Trustee. Nothing herein shall constitute a recommendation to the



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  Bondholders by the Bond Trustee. The Bondholders must independently evaluate whether the Proposed
  Resolution is acceptable and vote accordingly.

  5   VOTING AND VOTING PERIOD

  The Bond Trustee must receive all votes necessary for the items set forth in the Proposed Resolution to be
  passed by the requisite 2/3 majority within seven (7) calendar days from the date of this Summons (the
  "Voting Period").

  To approve the Proposed Resolution, either (1) a 2/3 majority of the total number of Voting Bonds must
  submit votes in favour of the Proposed Resolution before the expiration of the Voting Period (the "Voting
  Deadline") or (2) a quorum of at least 50% ofthe total number of Voting Bonds must submit responses to
  the Summons on or before the Voting Deadline and a 2/3 majority of such Voting Bonds must vote in
  favour of the Proposed Resolution.

  Each Bondholder will receive a bondholder's form (the "Bondholder's Form") from the Securities
  Depository (VPS), indicating your bondholding at the printing date. The Bondholder's Form will serve as
  each Bondholder's proof of ownership of the Bonds that must be submitted to the Bond Trustee together
  with the Bondholder's Voting Form (defined below). (If the Bonds are held in custody (i.e., the owner is
  not registered directly in the VPS) the custodian must confirm; (i) the owner of the Bonds, (ii) the
  aggregate nominal amount of the Bonds and (iii) the account number in VPS on which the Bonds are
  registered.)

  Attached hereto as Exhibit B is the form (the "Voting Form") that each Bondholder must submit to vote
  on the Proposed Resolution. To complete the Voting Form, each Bondholder must (i) indicate their vote
  in favour of or against the Proposed Resolution, (ii) provide the Bondholder's amount of Bonds owned,
  the custodian name and account number (if applicable), company name, telephone number, and email
  address, and (iii) duly execute the form. Once completed, each Bondholder must submit their completed
  and duly executed Voting Form, together with their Bondholder's Form, to the Bond Trustee in due time
  before the Voting Deadline (by scanned e-mail, telefax or post to post@trustee.no, +47 22 87 94 10, or
  Nordic Trustee AS, PO Box 1470 Vika, 0116 Oslo, Norway).

  In the event that Bonds have been transferred to a new owner after the Bondholder's Form was made, the
  new Bondholder must submit with the Bondholder's Form evidence which the Bond Trustee accepts as
  sufficient proof of the ownership of the Bonds.

  6   INDEMNIFICATION

  This Summons, the Proposed Resolution, and the Liquidation Bid are expressly subject to the indemnification
  provisions of the Bond Agreement, including Article 17.2 thereof.

  Yours sincerely
  Nordic Trustee AS
  On behalf of Olav Slagsvold



  G1oLre~en 8~
  Enclosed:   Exhibit A


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                                     EXIDBITA

                                    Liquidation Bid




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     Oferta Vinculante de Adquisici6n de Activos de las               Binding Offer to Acquire All or Substantially All of the
                        Quebradas                                              Assets of the Bankrupt Companies

                       Oslo, Noruega, a 17 de julio de 2019.                                        Oslo, NoiWay,]uly 17, 2019


Lie. Fernando Perez Correa Camarena                                Mr. Fernando Perez Correa Camarena
Sindico y representante legal de las empresas quebradas            Liquidator and legal representative of the Bankrupt
Perforadora Oro Negro, S. de R.L. de C.V. e                        Co1npanies
Integradora de Servicios Petroleros, S.A.P.I. de C.V.              Perforadora Oro Negro, S. de R.L. de C.V. and
Avenida de los Insurgentes Sur 1602 piso 11                        Integradora de Servicios Petroleros, S.A.P.I. de C.V.
Oficina 1102 edificio City Center                                  Avenida de los Insurgentes Sur 1602 piso 11
Colonia Credito Constructor                                        Oficina 1102 edificio City Center
Ciudad de Mexico                                                   Colonia Credito Constructor
                                                                   Ciudad de Mexico

      Referencia.- Concurso Mercantil en fase de quiebra                 Ref.-         Bankruptcy proceeding in liquidation
                   de Perforadora Oro Negro, S. de R.L. de                             phase of Perforadora Oro Negro, S. de
                   C.V. ("Perforadora") e Integradora de                               R.L. de C.V. ("Perforadora") and
                   Servicios Petroleros, S.A.P.I. de C.V.                              Integradora de Servicios Petroleros,
                    ("Integradora", y junto con Perforadora,                           S.A.P.I. de C.V. ("Integradora", and
                   las "Quebradas"), seguido ante el                                   jointly with Perforadora, the "Bankrupt
                   ]uzgado Segundo de Distrito en Materia                              Co1npanies"), before the Second District
                   Civil del Primer Circuito (el "Juez                                 Court in Civil Matters of the First Circuit
                   Concursal"), con nfunero de expediente                               (the "Concurso Court"), with docket
                   345/2017.                                                           number 345/2017.



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                    Oferta vinculante para la adquisici6n de                                 Binding offer for the acquisition of all or
                    los bienes de las Quebradas que mas                                      substantially all assets of the Bankrupt
                    adelante se identifican, solicitando al C.                               Companies identified below, requesting
                    Sindico que, en terminos de los articulos                                the liquidator that, pursuant to Articles
                    205 y 206 de la Ley de Concursos                                         205 and 206 of the Mercantile
                    Mercantiles, pida autorizaci6n alJuzgado                                 Bankruptcy Law de la Mercantile
                    Concursal para enajenar dichos bienes                                    Bankruptcy         Law,      to    request
                    de la Masa rnediante un procedimiento                                    authorization to the Concurso Court to
                    distinto al previsto en los articulos 198 al                             sell the assets of the Estate pursuant to a
                    204 de la referida ley (en lo sucesivo, la                               proceeding other than as specified under
                    "Oferta Vinculante").                                                    articles 198 to 204 of the referred law
                                                                                             (hereinafter, the "Binding Offer").

Por instrucci6n de los Tenedores de los Bonos del Acuerdo              Pursuant to the instructions of the requisite majority of holders
de Bonos de fecha 29 de abril de 2016 suscrito por Oro Negro           of the Bonds issued pursuant to the Bond Agreernent dated
Drilling Pte. Ltd. (los "Tenedores de Bonos"), Nordic Trustee          April 29th, 2016, issued by Oro Negro Drilling Pte. Ltd. (the
AS ("NT"), con domicilio en Kronprinsesse Marthas plass 1,             "Bondholders"), Nordic Trustee AS ("NT"), with dornicile at
N-0160 OSLO, presenta la siguiente oferta vinculante para              Kronprinsesse Marthas plass 1, N-0160 OSLO, presents the
que la empresa de prop6sito especffico que identifiquen en el          following binding offer to acquire, through a special purpose
futuro los Tenedores de los Bonos (el "Adquirente"), cuya              entity to be identified by NT (the "Purchaser"), which shall be
identidad sera informada al Sindico dentro del plazo de diez           identified to the liquidator within ten calendar days after the
dias siguientes a la recepci6n de la Confirmaci6n del Sindico          NT's receipt of the liquidator's Confmnation (defmed
referida abajo, adquiera los bienes de la Masa Concursal de            below), all or substantially all assets of the Bankruptcy Estate
las Quebradas, que se identifican mas adelante, bajo los               of the Bankrupt Companies identified below, under the terms
tenninos y condiciones que se precisan en esta Oferta                  and conditions contained in this Binding Offer.
Vinculante.




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    1. Bienes y derechos objeto de Ia oferta de adquisici6n.        II.    Assets and rights subject-matter acquisition offer.

Por medio de la presente Oferta Vinculante, el Adquirente               Through this Binding Offer, Purchaser offers to acquire, all
ofrece adquirir sustanciahnente todos los bienes y derechos             or substantially all of the assets and rights of the Bankrupt
de las Quebradas, incluyendo, sin limitar, las acciones y partes        Companies, including, "Without limitation, the shares, social
sociales de las que son titulares las Quebradas, cualesquier            shares, or other equity interests held by the Bankrupt
derecho actual, litigioso o contingente, demandas, y acciones           Companies, any current, unliquidated or contingent rights,
judiciales respecto de acciones y partes sociales de sociedades         clai1ns, and causes of action concerning the stock and shares
de las que las Quebradas eran o son socias o accionistas, los           that was or is owned by the Bankrupt Companies, the licensee
derechos de licenciataria de las Quebradas y sus subsidiarias           rights of the Bankrupt Co1npanies and their subsidiaries
respecto de prograrnas de co1nputaci6n y senricios                      regarding co1nputer prograrns and co1nputer senrices, the
informaticos, los equipos de c6mputo de los que son titulares           computer equip1nent of which the Bankrupt Co1npanies and
las Quebradas y sus subsidiarias, las refacciones de las que son        their subsidiaries are owners, the spare parts of which the
titulares las Quebradas y sus subsidiarias (incluyendo aquellas         Bankrupt Companies and their subsidiaries (including those
pendientes de entrega), los derechos actuales, pendientes de            pending delivery) are entitled, the current, unliquidated or
liquidaci6n o contingentes, asi como las de1nandas y acciones           contingent rights, claims, and causes of action that the
jurisdiccionales de las que las Quebradas y sus subsidiarias            Bankrupt Companies and their subsidiaries have against any
sean titulares en contra de cualquiera de las Quebradas, sus            of the Bankrupt Co1npanies, the Bankrupt Co1npanies'
directores actuales o anteriores, oficiales, agentes, consejeros,       current and former directors, officers, agents, advisors,
asesores, profesionales independientes, abogados y                      professionals, attorneys, and shareholders, and against
accionistas, asi como en contra de Deutsche Bank Mexico,                Deutsche Bank Mexico, SA, Instituci6n de Banca MUltiple
S.A., Instituci6n de Banca MUltiple ("DB"), los derechos de             ("DB "), the settlor third-beneficiary's rights of Perforadora
fideicomitente y fideicomisaria en tercer lugar de Perforadora          "Within the Adrninistration and Source of Payment Irrevocable
respecto del Contrato de Fideicomiso Irrevocable de                     Trust Agreement identified with the nu1nber F/1695, all the
Ad1ninistraci6n y Fuente de Pago Identificado con el numero             current, unliquidated or contingent rights, claims, and causes
F/1695, la totalidad de los derechos actuales, exigibles, no            of action of the Bankrupt Companies in the United States of
exigibles, liquidos y/o contingentes, asi como litigiosos de las        America, in Mexico, in Singapore, in Norway, and in any
Quebradas en los Estados Unidos de America, en Mexico, en               other country, against any of the Bondholders, NT, Petr6leos
Singapur, en Noruega, yen cualquier otro pais, en contra de             Mexicanos and its subsidiaries and DB, the Bankrupt

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cualquiera de los Tenedores de Bonos, NT, Petr6leos                    Co1npanies' current and former directors, officers, agents,
Mexicanos y sus subsidiarias y DB, sus directores actuales o           advisors, professionals, attorneys, and shareholders, and any
anteriores,    oficiales,  agentes,     consejeros,    asesores,       other entity or third parties; except for those assets and rights
profesionales independientes, abogados y accionistas, asi              that after reviewing the inventory 1nade by the Liquidator and
co1no en contra de cualquier otra entidad o terceros; salvo por        the fmancial statements of the Bankrupt Co1npanies and its
aquellos bienes y derechos que despues de revisar el                   subsidiaries, which shall be provided to the Purchaser, the
inventario que realice el Sindico y los estados financieros de         Purchaser informs the Liquidator are not to be acquired. The
las Quebradas y sus subsidiarias, 1nisn1os que deben ser               offer is conditional upon the Liquidator selling, assigning or
entregados al Adquirente, este informe al Sindico que los              transferring by any means to the Purchaser all of the goods
mismos no seran adquiridos. La oferta esti condicionada a              and rights referred to above unless the Purchaser otherwise
que el Sindico venda, ceda o trans1nita de cualquier fonna al          expressly agrees in writing (the "Acquired Assets"). The sale
Adquirente la totalidad de los bienes y derechos referidos             of any property, credit, right, claiin or cause of action to a third
arriba salvo que el Adquirente expresamente acuerde por                party by the Liquidator, shall render this Binding Offer
escrito cualquier instrucci6n dist:inta (los "Activos que seran        without effect.
Adquiridos"). La venta de cualquier bien, credito, derecho,
reclamaci6n o acci6n a un tercero por parte del Sindico,               2. Price of the sale of the goods and rights subject-matter of
dejara sin efecto esta Oferta Vinculante.                                 the acquisition offer and form of payment.

    2. Precio de la compraventa de los bienes y derechos I The amount to be paid to acquire the Acquired Assets, and
       objeto de la oferta de adquisici6n y, forma de pago. the form of payment, is as follows:

El Inonto a pagar para adquirir los Activos que seran                  a)   The ainount of approxiinately US$10'000,000 dollars
Adquiridos, y la forma de pago, es la siguiente:                            (ten million dollars 00/100, currency of the United States
                                                                            of America) or the sufficient ainount of money necessary
a) El Inonto de aproxiinadainente $10'000,000.00 USD (diez                  to pay the all the creditors against the Bankruptcy Estate
   millones de d6lares 00/100, moneda de curso legal en los                 a11d the common creditors currently recognized
   Estados lJnidos de America) o bien, la cantidad de dinero                (excluding the credits recognized in favor of NT)
   necesaria para pagar a todos los acreedores contra la 1nasa              pursuant to the Judginent of Recognition, Graduation
   concursal y a los acreedores co1nunes actuahnente                        and Priority of Credits ("Credits RecognitionJudginent")

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   reconocidos (excluyendo los creditos -reconocidos a favor             issued by the Concurso Court (currently under review by
   de NT), conforme a la Sentencia de Reconocimiento,                    the Appellate Court) and its modifications, if any by the
   Graduaci6n y Prelaci6n de Creditos ("Sentencia de                     Higher Courts, with a maximum amount of
   Reconoci1niento de Creditos") enlitida por el Juez                    US$20'000,000 dollars (twenty Inillion dollars 00/100,
   Concursal (actualmente en proceso de revision por el                  currency of the lJnited States of America), which will
   Tribunal de Apelaci6n) y sus n1odificaciones, si las                  include any additional amount to create a reserve
   hubiera, por los Tribunales Superiores, con un monto                  reasonably acceptable to Purchaser in case any of the
   maxnno de $20'000,000.00 USD (veinte Inillones de                     appeals that are pending resolution against the Credits
   d6lares 00/100, moneda de curso legal en los Estados                  Recognition Judgment issued by the Concurso Court,
   lJnidos de America), adicionando un monto adicional para              modifies the amount of the recognized credits (excluding
   constituir una reserva, razonable a juicio del Adquirente,            fro1n said reserve, the credits recognized in favor of Oro
   para el caso de que alguna de las apelaciones pendientes              Negro Drilling Pte. Ltd. as subordinated loans)
   de resoluci6n en contra de la Sentencia de                            (hereinafter, the "Cash Alnount"). This a1nount expressly
   Reconocimiento de Creditos dictada por el]uez Concursal               excludes any amount owed by the Bankrupt Companies
   Inodifique el1nonto de creditos reconocido (excluyendo                currently characterized as subordinated or inter-co1npany
   de dicha reserva, los creditos reconocidos a favor de Oro             debts.
   Negro Drilling Pte. Ltd. como creditos subordinados) (en
   lo sucesivo, el "Monto de Contado"). Este 1nonto                      In case other creditors or credits intervene, then the
   expresamente excluye cualquier n1onto adeudado por las                Liquidator shall distribute the payment of said credits in
   Quebradas actualmente identificado como deudas                        terms of the Commercial Bankruptcy Law, using the
   subordinadas o inter-compaiiias.                                      same Cash Amount.

   Para el caso de que sobrevengan otros acreedores o               b)    100% of the bankruptcy share that corresponds to NT
   creditos, entonces el Sindico debera distribuir el pago de            pursuant to the Credits Recognition Judgment, including
   dichos creditos de conformidad con la Ley de Concursos                the current a1nount recognized in said judg~nent, and the
   Mercantiles, utilizando el nlismo Monto de Contado.                   amount that may be increased or decreased by means of
                                                                         the appeals filed against said Credits Recognition
b) El 100% de la cuota concursal que corresponda a NT                    J udg~nent, which are pending resolution before the Third
   conforme a la Sentencia de Reconocimiento de Creditos,                lJnitary Court in Civil, Administrative Matters and

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   tanto por el monto actuahnente reconocido en dicha                     Specialized in Econon1ic Co1npetition, Broadcasting and
   sentencia, como por el monto que en su caso se modifique               Telecommunications (the "Court of Appeals").
   a la alza o a la baja mediante los recursos de apelaci6n en
   contra de dicha sentencia, pendientes de resoluci6n ante el        Once the Binding Offer is approved by the Concurso Court
   Tercer TribunallJnitario en Materias Civil, Administrativa         and once the respective purchase and sale agreement is
   y    Especializados     en    Competencia       Econ6mica,         executed between the Liquidator and the Purchaser, the
   Radiodifusi6n y Teleco1nunicaciones (el "Tribunal de               Purchaser shall, within the next ten business days: (i) deposit
   Apelaci6n")                                                        with the Bankruptcy Judge the equivalent in pesos of the Cash
                                                                      Amount of the price referred to in this Binding Offer, (ii)
lJna vez que la Oferta Vinculante sea aprobada por el Juez            deliver a certificate evidencing that NT' s bankruptcy share has
Concursal y una vez que el respectivo contrato de                     been transferred to the Insolvency Estate. The conversion
con1praventa sea celebrado entre el Sindico y el Adquirente,          factor for converting the amount of Investn1ent lJnits
el Adquirente contara con un plazo de diez dias habiles para:         ( [Jmdades de Inversion) to pesos shall be that published by
(i) depositar ante elluez Concursal el equivalente en pesos del       Banco de Mexico on the day preceding the purchase and sale
Monto de Contado del precio referido en la presente Oferta            agree1nent is executed (and in lack thereof, the factor
Vinculante, (ii) entregar un certificado en el que se haga            published by Banco de Mexico on the immediately preceding
constar que la cuota concursal correspondiente a NT ha sido           business day).
transnlitida a la Masa Concursal. El factor para convertir el
monto de Umdades de Inversion a pesos, sera el publicado              3. Reserves.
por Banco de Mexico el dia que preceda ala celebraci6n del
contrato de compraventa correspondiente (yen su defecto, el   This offer is conditioned to the Liquidator agreeing to reserve
factor publicado por Banco de Mexico el dia habil imnediato   the paYlnent of the a1nounts of the credits that are subject to
anterior).                                                    an appeal against the Credits Recognition Judgn1ent, pending
                                                              resolution before the Court of Appeal, and in the event that
    3. Reservas.                                              there is a re1naining amount, it is payable in terms of the
                                                              Commercial Bankruptcy Law, subordinated creditors or the
Esta oferta esta condicionada a que el Sindico acuerde corresponding creditors.
reservar el pago de los montos de los creditos que son objeto
de alg(in recurso de apelaci6n en contra de la Sentencia de

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Reconocin1iento de Credito, pendientes de resoluci6n ante el        4. Lack of ties with the Bankrupt Companies.
Tribunal de Apelaci6n, y para el caso de que exista un monto
remanente, este sea pagadero en terminos de la Ley de               lJnder oath I affinn that the undersigned, NT and the
Concursos Mercantiles, a los acreedores subordinados o a los     Purchaser, does not have and shall not have any fa1nily or
acreedores que correspondan.                                     patrimonial ties with the Bankrupt Companies, its directors,
                                                                 general managers, managers or other persons directly related
    4. Manifestaciones sobre Ia ausencia de vinculos con las to the operations of the Bankrupt Companies.
        Comerciantes.
                                                                 5. Term of this Binding Offer.
Manifiesto bajo pro testa de decir verdad que el suscrito, NT y
el Adquirente no tienen ni tendran vinculos fa1niliares o Unless otherwise tenninated pursuant to clause (i) or (ii) of the
patrinloniales con las Quebradas, sus adrninistradores, following paragraph, this Binding Offer will be valid for 90
gerentes generales, gerentes u otras personas relacionadas calendar days following the date indicated above. The term of
directamente con las operaciones de las Quebradas.               this Binding Offer may be extended only by means of a writ
                                                                 signed by the representative of NT or the Purchaser.
    5. Vigencia de esta Oferta Vinculante.
                                                                 The effects of this Binding Oiler shall cease and the offer shall
Salvo que la presente propuesta termine por alguna causa be considered tenninated without any obligation to NT or the
distinta en terminos de los apartados (i) o (ii) del siguiente Purchaser if: (i) the Liquidator fails to confmn that it will
pcirrafo, la presente Oferta Vinculante tendra una vigencia de submit this Binding Offer to the Bankruptcy Court and that it
90 dias naturales siguientes a la fecha de suscripci6n seiialada agrees with the terms and conditions thereof, within a fifteen
arriba. El plazo de vigencia de la presente oferta vinculante calendar days tenn following its receipt (the "Liquidator's
podra extenderse linica.Inente por escrito irnpreso y finnado Confirmation"), or (ii) if the Liquidator sells, transfers, assigns,
por el representante de NT o el Adquirente.                      encumbers, fmances, or otherwise transfers any rights, clainls,
                                                                 causes of action, or other assets of the Bankrupt Companies
Los efectos de esta Oferta Vinculante cesaran y esta se without the express written consent of NT or the Purchaser.
entendera terminada sin obligaci6n alguna a cargo de NT o
de la Adquirente si: (i) el Sindico ornite confrrmar que
presentara esta Oferta Vinculante al Juzgado Concursal y de

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que esta de acuerdo con los tenninos y condiciones de la          I   6. Request that this Binding Offer be presented to the
misma, en un plazo de quince dias naturales siguientes a que             Concurso Court, in order to approve the sale of the
la reciba (la "Confmnaci6n del Sindico"), o (ii) si el Sindico           Acquired Assets in terms of articles 205 and 206 of the
venda, transfiera, asigne, grave, fmancie, o transfiere de               Commercial Bankruptcy Law.
cualquier otra manera cualesquier derechos, reclamaciones,
demandas, acciones jurisdiccionales, derechos litigiosos u otro   Because this Binding Offer will permit the selling of most of
activo de las Quebradas, sin el expreso consentimiento por        the goods and rights of the Insolvency Estate, at an acquisition
escrito de NT o del Adquirente.                                   price that is substantially higher than the price that could be
                                                                  obtained if sold otherwise, we request the Liquidator to
    6. Solicitud de que Ia presente Oferta Vinculante sea request the Bankruptcy Court to authorize the sale described
        presenta.da al Juzgado Concursal, a efecto de que se herein, pursuant to articles 205 and 206 of the Mercantile
        apruebe Ia enajenaci6n de los Activos que seran Bankruptcy Law.
        Adquiridos en rerminos de los articulos 205 y 206 de
        Ia ley de Concursos Mercantiles.                          7. Procedure for the liquidator to ensure that the price of
                                                                     this Binding Offer is the highest that could be obtained.
Siendo que la presente Oferta Vinculante tiene como
finalidad la enajenaci6n de la mayoria de los bienes y derechos In order to comply with the rules and principles set forth in
de la Masa Concursal, a un precio de adquisici6n article 197 of the Co1n1nercial Bankruptcy Law, that seeks
considerablemente superior al que podria obtenerse en el the sale of the assets of the Bankrupt Co1npanies to be
mercado, solicitamos al C. Sindico que en terminos de los carried out in the best possible conditions, within the shortest
articulos 205 y 206 de la Ley de Concursos Mercantiles, period of time to recover the resources, maximizing the value
solicite al Juzgado Concursal que autorice la co1npraventa of the recovery, and observing the publicity and operability
descrita aqui.                                                    principles, as well as objectivity and transparency principles,
                                                                  we ask the Liquidator 1nake this Binding Offer public,
    7. Procedimiento para que el Sfudico se asegure de que granting the public in general, and even the former
        el precio de esta. Oferta Vinculante, sea el mas alto que representatives and shareholders of the Bankrupt
        pudiera obtener.                                          Co1npanies, the opportunity to i1nprove the price offered
                                                                  herein.


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A efecto de cwnplir con las reglas y principios dispuestos en           In the event that the Liquidator wishes to hire an investment
el articulo 197 de la Ley de Concursos Mercantiles, dentro de           banker in order to achieve the objectives indicated above, the
los que se busca que la liquidaci6n de los activos de las               Purchaser shall undertake to pay the reasonable and
Quebradas se realice en las mejores condiciones posibles, y             documented fees of said investment banker, at an hourly rate
los plazos mas cortos de recuperaci6n de recursos,                      reasonably acceptable to the Purchaser.
maximizando el valor de recuperacion, y observando los
principios de publicidad y operatividad, asi como de                    8. Offer guarantee.
objetividad y transparencia, solicitnnos a la Sindicatura a su
cargo que haga publica la presente Oferta Vinculante,                   lJpon receipt of the Liquidator's Confinnation, and within ten
otorgando al publico en general, e inclusive, a los otrora              days after the Liquidator quantifies and reports to NT and/or
representantes y a los accionistas de las Quebradas, la
                                                                        the Purchaser the Cash Amount, the Purchaser shall deliver
oportunidad de mejorar el precio aqui ofertado.
                                                                        an irrevocable standby letter of credit on demand, for the
Para el caso de que el Sindico desee contratar un banquero              amount equivalent to 10% of the Cash Amount with a validity
de inversion a efecto de asegurar los objetivos seiialados              of 120 calendar days, in order to guarantee the seriousness of
arriba, el Adquirente se obliga a pagar los honorarios de dicho         this Binding Offer. In the event that the term of this Binding
banquero de inversion, bajo una tarifa horaria, y previa                Offer expires (or of any extension to said tenn executed in
confmnaci6n de parte del Adquirente de que los honorarios               writing by the Purchaser expires), without the purchase and
de dicho banquero de inversion son razonables y estan
                                                                        sale taking place for reasons not attributable to NT or the
documentados correctamente.
                                                                        Purchaser ends, the Liquidator shall return said letter of credit
   8. Garantla de la oferta.                                            to NT and/or the Purchaser.

Previa recepci6n de la Confrrmacion del Sindico, y dentro de            9. Definitive Documentation
los diez dias habiles siguientes al en que el Sindico cuantifique
e informe a NT y/o al Adquirente el Monto de Contado, el                The Liquidator and the Purchaser shall negotiate the
Adquirente entregara una carta de cn~dito irrevocable ala vista         defmitive documentation effectuating the transactions
(irrevocable standby letter of credit on de1nand), por la
                                                                        contemplated by this Binding Offer in good faith, and such
cantidad equivalente al 10% del Monto de Contado con

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vig~ncia  de 120 di~s natu~ales, a efecto de garantizar la I definitive documentation shall be in a fonn and substance
senedad de esta Oferta V1nculante. Para el caso de que reasonably acceptable to the Purchaser.
concluya el plazo de vigencia de esta Oferta Vinculante (ode
cualquier extension a dicho plazo suscrito por escrito por elllO C . . . . lling Langu
      .
Ad qurrente     . que se re ali ce 1a compraventa por razones no
            ), s1n                                                  . onu 0             age
atribuibles a NT o al Adquirente, el Sindico no realice la
compraventa, entonces el Sindico debera devolver dicha carta In the event of any inconsistency between the English language
de credito a NT y/o al Adquirente.                               version of this term sheet and the Spanish language version,
                                                                 the English language version shall control.
    9. Documentaci6n Definitiva.


El Sindico y el Adquirente deberan negociar en buena fe la
documentacion definitiva para celebrar los acuerdos
contemplados en esta Oferta Vinculante, y dicha
docmnentacion definitiva debera ser en la fonna y sustancia                 Nordic Trustee AS, acting under the
razonablemente aceptable para el Adquirente.                                 instructions of the Bondholdelrs

   10. Control de interpretacion.


En caso de que exista alguna inconsistencia entre la colmnna
redactada en el idioma Ingles y la redactada en el idioma
Espaiiol de esta Oferta Vinculante, la interpretacion que
debera prevalecer sera la version en idio1na ingles.




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    Nordic Trustee AS, actuando bajo
instrucciones de los Tenedores de Bonos




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                                     EXHIBITB

                                     Voting Form




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                                               Voting Form

     Voting Form -Written Resolution to Submit Liquidation Bid

     ISIN NO 001 070098.2 -7.50% Oro Negro Pte. Ltd. Senior Secured Bond Issue
     2014/2019

     The undersigned holder or authorised person/entity, votes either in favour of or against the
     Proposed Resolution.


        D In favour the Proposed Resolution
        D Against the Proposed Resolution

     ISIN                                               Amount of bonds owned
     ISIN NO 001 070098.2


     Custodian name                                     Account number at Custodian



     Company                                            Day time telephone number


                                                        Email




     Enclosed to this form is the complete printout from our custodianNPS, 1 verifying our
     bondholding in the bond issue as of: _ _ __

     We acknowledge that Nordic Trustee AS in relation to the Written Resolution for verification
     purposes may obtain information regarding our holding of bonds on the above stated
     account in the securities register VPS.



     Place, date                                 Authorised signature


     Return:

     Nordic Trustee AS
     P.O. Box 1470 Vika
     N-0116 Oslo

     Telefax: +47 22 87 94 10
     Tel:     +47 22 87 94 00
     Mail to: mail@nordictrustee.no




         If the bonds are held in custody other than in the VPS, an evidence provided from the custodian-
         confirming that (i) you are the owner of the bonds, (ii) in which account number the bonds are
         hold, and (iii) the amount of bonds owned.


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